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AO 106 (Rev. 01/09) Application for a Search Warrant

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT ie
for the
Eastern District of Virginia FEB | 3 2019
In the Matter of the Search of CLERK US. RTNGE COURT

 

 

(Briefly describe the property to be searched
or identify the person by name and address)
(1) iPhone cellular phone IMEI #352982098938890
containing Sprint SIM card #8901 1202000210974124
(See Attachment A for full identifiers)

Case No. 3B. \ASw 058

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that there is now concealed on the following person or property
located in the Eastern District of Virginia (identify the person or describe property to
be searched and give its location):

See Attachment A

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
a evidence of a crime;
a contraband, fruits of crime, or other items illegally possessed;
os property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of 18 U.S.C. § 922 (a)(1})(A)_, and the application is based on these
facts: See Affidavit

of Continued on the attached sheet.

©) Delayed notice of ___ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

Applicant's signature

Thomas W. Byrd Special Agent

Printed name and title

  
  
    

Sworn to before me and signed in my presence. iS!

David J. Novak

 

 

Date: 02/13/2019 United States Magistrate Judge
Judge 's signature
City and state: Richmond, VA Hon. David J. Novak, U.S. Magistrate Judge

Printed name and title
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

 

IN THE MATTER OF THE SEARCH OF
(1) iPhone cellular phone IMEI
#352982098938890 containing Sprint SIM .
card #89011202000210974124. Currently | CaseNo. 3:19SWO5@
located at the ATF Richmond III Field Office,
600 E. Main Street suite 1401, Richmond,

Virginia.

 

 

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 FORA
WARRANT TO SEARCH AND SEIZE

I, Special Agent Thomas W. Byrd being first duly sworn, hereby depose and state as
follows:
INTRODUCTION AND AGENT BACKGROUND
I make this affidavit in support of an application under Rule 41 of the Federal Rules of
Criminal Procedure for a search warrant authorizing the examination of property—an electronic
device—which is currently in law enforcement possession, and the extraction from that property
of electronically stored information described in Attachment B.

1. I, Thomas Wayne Byrd have been employed as a Special Agent (SA) with the Bureau of
Alcohol, Tobacco, and Firearms (ATF) since July 2015 and I am currently assigned to the
Richmond III field office. I have investigated individuals for the illegal possession and use of
firearms, illegal possession and distribution of controlled substances, and for committing violent
crimes. As a SA with ATF I am primarily responsible for conducting criminal investigations that

concern the enforcement of our nation’s federal firearm laws, drug trafficking and violent crimes.
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2. This affidavit is intended to show only that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter. The information
provided is based upon my personal knowledge, or that of other sworn law enforcement officers

participating in this investigation.

IDENTIFICATION OF THE DEVICE TO BE EXAMINED

3, The property to be searched is (1) iPhone cellular phone IMEI #352982098938890
containing Sprint SIM card #89011202000210974124, henceforth referred to as “SUBJECT
DEVICE.” The SUBJECT DEVICE is currently located at the ATF Richmond III Field Office,
600 E. Main Street suite 1401, Richmond, Virginia.

4. The applied-for warrant would authorize the forensic examination of the SUBJECT
DEVICE for the purpose of identifying electronically stored data particularly described in
Attachment B.

RELEVANT STATUTORY PROVISIONS
Sale of Firearms to an Individual Whom is believed do not reside in the same State as
the Seller: 18, U.S.C. § 922(a)(5) provides that it is a crime to sell a firearm to a person to which
the seller identifies to be an out of state resident.
Engaged in the Business of Dealing Firearms without a License: 18, U.S.C. § 922 (a)
(1){(A) provides that it is a crime to distribute a quantity of firearms engaged in the business of
dealing firearms without a license.
TECHNICAL TERMS
5. Based on my training and experience, I use the following technical terms to convey the

following meanings:
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a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or
traditional “land line” telephones. A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and from
the phone. In addition to enabling voice communications, wireless telephones offer
a broad range of capabilities. These capabilities include: storing names and phone
numbers in electronic “address books;” sending, receiving, and storing text
messages and e-mail; taking, sending, receiving, and storing still photographs and
moving video; storing and playing back audio files; storing dates, appointments,
and other information on personal calendars; and accessing and downloading
information from the Internet. Wireless telephones may also include global
positioning system (“GPS”) technology for determining the location of the device.

b. Digital camera: A digital camera is a camera that records pictures as digital picture
files, rather than by using photographic film. Digital cameras use a variety of fixed
and removable storage media to store their recorded images. Images can usually
be retrieved by connecting the camera to a computer or by connecting the
removable storage medium to a separate reader. Removable storage media include
various types of flash memory cards or miniature hard drives. Most digital cameras
also include a screen for viewing the stored images. This storage media can contain

any digital data, including data unrelated to photographs or videos.
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c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio, video,
or photographic files. However, a portable media player can also store other digital
data. Some portable media players can use removable storage media. Removable
storage media include various types of flash memory cards or miniature hard drives.
This removable storage media can also store any digital data. Depending on the
model, a portable media player may have the ability to store very large amounts of
electronic data and may offer additional features such as a calendar, contact list,
clock, or games.

d. IP Address: An Internet Protocol address (or simply “IP address’) is a unique
numeric address used by computers on the Internet. An IP address is a series of
four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).
Every computer attached to the Internet computer must be assigned an IP address
so that Internet traffic sent from and directed to that computer may be directed
properly from its source to its destination. Most Internet service providers control
a range of IP addresses. Some computers have static—that is, long-term—IP
addresses, while other computers have dynamic—that is, frequently changed—IP
addresses.

e. Internet: The Internet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the Internet,
connections between devices on the Internet often cross state and international
borders, even when the devices communicating with each other are in the same

state.
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f. Sim Card: A Subscriber Identity Module card is a smart card that includes but not
limited to a cellphone phone number, customer identity and other data.

g. SD Card: A Secure Digital Memory Card Memory is a storage device utilized in
computers and/or cellular phones for additional cellular phone storage
components/files compatible that frequently contain files that include but not
limited to: cellular phone downloads, photos and videos.

6. Based on my training, experience, and research, I know the SUBJECT DEVICE has
capabilities that include, but are not limited to: a wireless telephone; a digital camera/video
recorder; a portable music/media player; and a device to send/receive emails, documents,
photographs, videos and text messages. In my training and experience, examining data stored on
devices of this type can uncover, among other things, evidence of drug/firearm trafficking,
possession and indicia of ownership to SUBJECT DEVICE.

PROBABLE CAUSE

A. Background of the Investigation

7. In September of 2016, ATF New York Group IV initiated a firearms trafficking
investigation. During the investigation, law enforcement in New York performed several
controlled purchases of firearms which were previously purchased in the Richmond, VA area. Law
enforcement determined that Brian SAMUELS was involved with this investigation. In August of
2018, a cooperating source (“CI-1”) reported to the Henrico County Police Department (HCPD)
and the ATF that SAMUELS was involved in the trafficking of firearms. |

8. CI-1 will be referred to in the masculine gender, regardless of CI-1’s true gender. CI-1 has
been convicted of two felonies, including robbery and the use of a firearm in the commission of a

felony. He was arrested in December of 2017, in Henrico County, Virginia, for possession with
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intent to distribute a schedule I or II drug (two charges), possession of weapon/ammo by a felon,
and possession of a firearm by a convicted felon. Cr-1 is currently supervised through the use of
an ankle monitor. On January 29, 2019, ATF SAs were notified by the Henrico County Police
Department that CI-1 had failed a drug test for marijuana usage.

9. In August of 2018, agents and officers associated with ATF and HCPD, began investigating
SAMUELS for possible criminal offenses involving the illegal sale of firearms in the Richmond
Metropolitan area. In addition to using GPS-tracking search warrants, pen register/trap and trace
devices, and other investigatory techniques, the agents also utilized an ATF UC to further the
investigation through firearms purchases.

| 10. On August 7, 2018, CI-1 stated to law enforcement that he knew SAMUELS and an
associate were trafficking firearms to the Baltimore, MD area. CI-1 stated that this had been
occurring while CI-1 had been incarcerated. CI-1 stated that the person to whom SAMUELS and
his associate were selling firearms in Baltimore, MD had been incarcerated. Furthermore, CI-1
learned through conversation with SAMUELS that SAMUELS and his associate were looking for
another purchaser of firearms. Due to SAMUELS and his associate looking for another purchaser
of firearms, Ch introduced an ATF Special Agent, acting in an undercover (UC) capacity, to
SAMUELS. The UC and CI-1 devised a story that the UC was CI-1’s cousin from out of state
B. Controlled Purchase of a firearm from Brian SAMUELS on August 28, 2018
11.On August 28, 2018, at law enforcement direction, CI-1 contacted SAMUELS via
SAMUELS’ cellular phone and discussed a rifle with a drum style magazine SAMUELS had for
sale. On August 29, 2018, an ATF UC, participated in a controlled purchase of a firearm from
SAMUELS in front of 316 East 9™ Street, Richmond, VA. The UC observed SAMUELS exit 316

East 9" Street, Richmond, VA, and observed SAMUELS approach the passenger side of an
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undercover law enforcement vehicle (UCV). SAMUELS then produced a firearm (American
Tactical Imports, Model Omni Hybrid, 5.56 X 45mm caliber semi-automatic pistol, bearing serial
number NS174168) with a drum magazine from his sweat pants and provided the firearm to CI-1.
SAMUELS was provided $1000.00 in pre-recorded Official Government Funds (OGF) for the
purchase of this firearm
C. Controlled purchase of a Firearm from Toreaz SETTLES on October 2, 2018

12. On September 25, 2018, CI-1 provided law enforcement with information about potential
firearms for sale, to include an “AK47” style rifle, from SAMUELS. CI-1 stated that the “AK47”
was purchased by Adam WALLACE and Ah’Tari JOHNSON, and that SAMUELS stated he
would help WALLACE and J OHNSON sell the “AK47” for a profit. On September 25, 2018, CI-
1 spoke with SAMUELS via cellphone. During the conversation, CI-1 discussed with SAMUELS
a “Draco” and a “Glock.” CI-1 asked SAMUELS if he had ever received the “stick” from Ah’ Tari
JOHNSON to which SAMUELS replied that he had not and he was going to call him. SAMUELS
further asked CI-1 how much he thought CI-1’s associate, the UC, would pay for the “Draco” and
the “Glock.” |

13. On October 2, 2018, at law enforcement direction, CI-1 contacted SAMUELS via
cellphone in reference to the purchase of an “AK-47” style rifle. During the conversation, CI-1
told SAMUELS that his “peoples” (the UC) were ready to pick him up (referencing a previously
arranged purchase of an “AK-47” style rifle). CI-1 verified with SAMUELS that SAMUELS had
left “it” (referring to the firearm) with Toreaz “Longway” SETTLES. SETTLES is a known
associate of SAMUELS. CI-! also verified with SAMUELS that SETTLES was the only one at
the residence. CI-1 further told SAMUELS to call Toreaz SETTLES and tell SETTLES to be

ready.
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14. In a separate conversation, CI-1 again spoke with SAMUELS via cell phone and
SAMUELS told CI-1 to call SETTLES. CI-1 then placed a phone call to SETTLES at phone
number (804) 274-0212 and CI-1 instructed SETTLES to be ready and that he was about to be on
his way. SETTLES replied, “alright just call me.” CI-1 further told SETTLES to make sure he had
that “junk ready” to which SETTLES replied, “alright.”

15. On October 2, 2018, the UC travelled with CI-1 to the area of 316 East 9" Street for the
transaction. Once in the area, CI-1 called SETTLES and the UC observed SETTLES exiting the
residence carrying a firearm wrapped in a blue shirt. SETTLES approached the UC vehicle and
provided the firearm (Romarm/Cugir, Model GP WASR 10/63, 7.62 X 39mm semi-automatic rifle .
bearing serial number 1973EK2963) to CJ-1. The UC provided $1200.00 in Official Government
Funds (OGF) to SETTLES in exchange for the firearm.

16. On October 4, 2018, in an interview, CI-1 informed law enforcement that after the
controlled purchase on October 2, 2018, SAMUELS provided CI-1 with $50.00 associated with
the purchase of the AK-47 style rifle. CI-1 stated that he had already spent the $50.00 and law
enforcement instructed CI-1 that if this happened in the future, to immediately notify law
enforcement.

D. Controlled purchase of Firearms from SAMUELS on October 15, 2018

17. On October 9, 2018, the UC communicated with SAMUELS via SAMUELS’ cellular
phone and discussed the sale of firearms. During the conversation, the UC and SAMUELS
negotiated prices of firearms that SAMUELS was willing to sell to the UC in the near future.

18. On October 15, 2018, the UC drove to the area of 316 East 9" Street, Richmond, VA with
CI-1. Once in the area, the UC observed SAMUELS exit 316 East 9" Street. The UC observed

SAMUELS carrying a large burgundy colored duffle bag and SAMUELS provided the duffle bag
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which contained four (4) firearms to the UC.. After inspecting the firearms, the UC provided
SAMUELS with $3,700 in OGF. Upon receiving the OGF, SAMUELS provided CI-1 with $300
from the OGF. Law enforcement later retook possession of this $300.00. Upon inspection of the
purchased evidence, law enforcement located approximately 1.7 grams of suspected marijuana in
the burgundy duffle bag. The suspected marijuana was field tested and showed an initial positive
reaction for the presence of marijuana.

E, Controlled purchase of firearms from SAMUELS on October 31, 2018

19. On October 25, 2018, the UC communicated with SAMUELS via a three-way phone call
with CI-1. During the conversation, SAMUELS informed the UC that he had eight (8) firearms,
and was trying to obtain a total of ten (10) firearms for sale to the UC. In this same conversation
_ on October 25, 2018, the UC asked SAMUELS if he was willing to travel to the Maryland area to
sell the firearms where the UC purported to reside. SAMUELS replied that he was not yet
comfortable with traveling to the Maryland area to conduct the transaction with the UC.
SAMUELS added there was not a sufficient amount of “chemistry” built up between the two for
him to conduct the transaction out of state with the UC. The UC and SAMUELS agreed upon a
purchase price of $7,600.00 for the firearms.

20. On October 31, 2018, the UC traveled to 316 East 9" Street in Richmond, VA, and parked
in the rear of the residence. The UC called SAMUELS on SAMUELS’ cellular phone and advised
that he had arrived at SAMUELS’ residence. SAMUELS exited 316 East 9" Street, and the UC
observed SAMUELS carrying a black duffle bag with a black rifle tucked under his sweater.
SAMUELS placed the black duffle bag inside the UC’s vehicle and the UC inventoried the
firearms. Upon confirming a total of ten (10) firearms, the UC provided SAMUELS with

$7,600.00 in OGF.
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21. During the controlled purchase, the UC revisited a conversation that he and SAMUELS
had via cellular phone on October 25, 2018. The UC informed SAMUELS that the reason
SAMUELS was requested to come to Maryland to conduct the firearms transaction was due to
information the UC received from CI-1 about a former firearms customer of SAMUELS in the
Baltimore area who was arrested. The UC assumed SAMUELS wanted to continue trafficking
firearms up north, so the UC offered to help SAMUELS continue to traffic firearms. SAMUELS
asked the UC if the UC was taking the firearms purchased from SAMUELS up to New York. The
UC replied that the UC was taking them there. SAMUELS replied “Yea see I ain’t never take
them that far. I had a plug up there at first, but he got tore off.” The UC clarified to SAMUELS
that the UC was not referring to SAMUELS bringing guns to New York, but was referring to
SAMUELS bringing guns to the UC in Maryland. The UC further explained to SAMUELS that
_ it was too risky for the UC to travel south. Therefore, the UC negotiated a lower price with
SAMUELS. The UC also offered SAMUELS an opportunity to sell the UC firearms at a higher
rate if SAMUELS sold the firearms to the UC in Maryland. SAMUELS replied he would inform
the UC when he was ready.

F. Controlled purchase of Firearms from Brian SAMUELS on November 16, 2018

22. On November 11, 2018, the UC returned a missed call from SAMUELS on SAMUELS’
cellular phone. During the conversation, SAMUELS asked the UC if the UC was interested in
purchasing a “FN” firearm. SAMUELS stated he was getting the firearm brand new for $1,300.00,
and wanted to know how much the UC would pay for it. The UC replied he would contact
SAMUELS later with an answer. The UC asked SAMUELS if SAMUELS was available to

conduct the firearm transaction on the upcoming Friday (11/16/18). SAMUELS replied he would

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be available and informed the UC that SAMUELS would have more firearms waiting for the UC
to purchase when they met.

23. On November 16, 2018, the UC conducted another controlled purchase with SAMUELS
at the same location. After the October 31, 2018, controlled purchase, SAMUELS and the UC
continued conversing via text message and phone calls about future purchases of additional
firearms. In summary, those conversations involved SAMUELS informing the UC that
SAMUELS wanted to sell the UC a “FN” pistol that shot rifle type ammunition; additionally,
Glock firearms were more expensive for SAMUELS to purchase for the UC as SAMUELS’ cost
(the amount he paid for the firearm) was approximately $500 U.S. dollars. In the lead-up to
November 16, 2018, SAMUELS and the UC texted each other and negotiated over the type and
price of firearms, and the logistics of any future transaction. ‘After much discussion, the two agreed
to meet on November 16, 2018. On that date, at approximately 1506 hours, the UC and CI-1
traveled to 316 East 9"" Street in Richmond, VA. The UC arrived in the rear parking lot of 316
East 9'" Street and observed SAMUELS exit the rear door of 316 East 9" Street. The UC gave
SAMUELS a duffle bag to place the firearms and SAMUELS took the duffle bag inside the
residence. SAMUELS exited the residence and provided the UC with the duffle bag. The UC
inspected the contents of the duffle bag and confirmed that there were twelve (12) firearms inside
the bag. The UC then provided SAMUELS with $10,000.00 in OGF. During this controlled
purchase, SAMUELS asked the UC “how far you think I gotta meet you?” The UC replied
“anywhere...” The UC then suggested to SAMUELS that SAMUELS could conduct the next
firearm transaction at the MGM casino located in Oxon Hill, Maryland. The UC informed
SAMUELS that the UC was going to be in New Jersey for a month, SAMUELS asked if the UC

was going to leave before the Thanksgiving holiday, because he wanted the UC to meet with him

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one more time before the UC left for New Jersey. The UC replied that he was unable to meet with
SAMUELS during that time. SAMUELS agreed to meet with the UC in Maryland.
G. Controlled purchase of firearms from Brian SAMUELS on December 12, 2018

24. On December 12, 2018, the UC conducted another controlled purchase of firearms from
SAMUELS. The UC and SAMUELS negotiated the sale of seven (7) handguns and a pistol grip
shotgun. In the lead-up to this controlled purchase, the UC had phone conversations with
SAMUELS negotiating the deal. In summary, SAMUELS informed the UC the he was unable to
drive to Maryland to meet with the UC because SAMUELS did not have a valid driver’s license
at the time, and did not want to involve anyone else in the transaction. As a result, SAMUELS»
and the UC agreed to conduct the next firearm transaction at SAMUELS’ residence. C]-1 was
present with the UC for this controlled purchase, which took place at 316 East 9" Street in
Richmond, VA.

H. Controlled Purchase of Firearms from SAMUELS on January 29, 2019

25. On January 25, 2019, the ATF UC spoke with SAMUELS by cell phone. During this
conversation, SAMUELS informed the UC that he needed money to pay his rent, but he was going
to try to delay selling the firearms he currently had in his possession so that the UC could purchase
them. The UC informed SAMUELS that the UC intended to purchase a large quantity of firearms
the next time that they met. SAMUELS replied “We ain’t really been getting nothing else .We
probably got like, goddamn, like a couple jawns. Shit...probably like...probably like umm, 10 of
them, at the least probably.” The UC thanked SAMUELS for delaying sale of the firearms he had
in his possession for the UC. In addition, the UC reiterated to SAMUELS that the UC wanted to

purchase a larger than normal quantity of firearms from SAMUELS. SAMUELS replied “the paper

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a little slow, but by the time you come this time, we gone have more for next time...niggas is broke
right now.”

26. On January 26, 2019, CI-1 placed a phone call to SAMUELS on SAMUELS’ cell phone.
CI-1 informed SAMUELS that the UC was going to front CI-1 some money in order for CI-1 to
obtain firearms from SAMUELS. CI-1 also informed SAMUELS that CI-1 was wearing a GPS
ankle monitor and was a felon. SAMUELS acknowledged CI-1’s comments with “yeah.” CI-1
then informed SAMUELS that the UC intended to give CI-1 money on Tuesday, January 29, 2019.

27. On January 26, 2019, the UC spoke with SAMUELS on SAMUELS’ cell phone. During
the conversation, the UC verified with SAMUELS the conversation SAMUELS had with CI-1.
SAMUELS replied he spoke with CI-1 earlier. The UC and SAMUELS negotiated a price of
$650.00 per handgun, and the UC offered SAMUELS an additional $100 - $150 on the total sales
price of the firearms as payment for SAMUELS to hold the rest of the firearms until the UC was
able to purchase them the following week.

28. On January 29, 2019, CI-1, at law enforcement’s direction, conducted a controlled
purchase of three (3) handguns from SAMUELS. For the controlled purchase CI-1 was provided
with $2100.00 in OGF and driven to the area of 316 East 9™ Street by law enforcement. Once in
the area, CI-1 made contact with SAMUELS at the front door of 316 East 9" Street. At the front
door, CI-1 provided SAMUELS with the $2100.00 and SAMUELS provided CI-1 with three (3)
handguns. CI-1 then departed the area with law enforcement.

29. On January 30, 2019, CI-1 provided law enforcement with $400.00 in OGF from the
1/29/2019 controlled purchase. C]-1 stated that in the evening of 1/29/2019, SAMUELS provided

him with the $400 for his participation in the controlled purchase. Law enforcement confirmed

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that the serial numbers of the $400.00 matched serial numbers from the OGF provided to CI-1 for
the controlled purchase the prior day.

30. To the present date, SAMUELS has continued to be in contact with the UC about the sale
of additional firearms.

31. On February 7, 2019, during the course of SAMUELS’s arrest, law enforcement located
three cellular devices inside the home where SAMUELS was arrested. Other individuals in that
home claimed ownership of two of these three cellular devices. The third device, the SUBJECT
DEVICE, was found next to a jacket that SAMUELS admitted belonged to him. Additionally, law
enforcement tracking of a cellular device known to belong to SAMUELS showed that
SAMUELS’s phone was turned off prior to his arrest. When law enforcement recovered
SUBJECT DEVICE during SAMUELS’s arrest, it, too, had been turned off.

32. In my training and experience, I know that drug and firearm traffickers frequently use
cellphones to set up illegal transactions, store the contact information for buyers and suppliers,
store balance sheets to keep track of drug trafficking activities, communicate with other known
drug traffickers or customers to discuss illegal transactions, and send or store images documenting
firearm and/or drug possession.

33. SUBJECT DEVICE is currently in secured storage at the ATF Richmond Field Office, 600
E. Main Street, Richmond, Virginia. In my training and experience, I know that the SUBJECT
DEVICE have been stored in a manner in which their contents are, to the extent material to this
investigation, in substantially the same state as they were in when the SUBJECT DEVICE first

came into the possession of the ATF.

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

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34. Based on my knowledge, training and experience I know that electronic devices can store
information for long periods of time. Similarly, things that have been viewed via the Internet are
typically stored for some period of time on the device. This information can sometimes be
recovered with forensics tools.

35. Forensic evidence. As further described in Attachment B, this application seeks permission
to locate not only electronically stored information that might serve as direct evidence of the crimes
described on the warrant, but also forensic evidence that establishes how the SUBJECT DEVICE
were used, the purpose of its use, who used them, and when. There is probable cause to believe
that this forensic electronic evidence might be on the SUBJECT DEVICE because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file).

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who
used them, and when.

d. The process of identifying the exact electronically stored information on a storage
medium that are necessary to draw an accurate conclusion is a dynamic process.
Electronic evidence is not always data that can be merely reviewed by a review

team and passed along to investigators. Whether data stored on a computer is

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evidence may depend on other information stored on the computer and the
application of knowledge about how a computer behaves. Therefore, contextual
information necessary to understand other evidence also falls within the scope of
the warrant.

e. Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is
not present on a storage medium

36. Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the
warrant I am applying for would permit the examination of the SUBJECT DEVICE consistent
with the warrant. The examination may require authorities to employ techniques, including but
not limited to computer-assisted scans of the entire medium, that might expose many parts of the
SUBJECT DEVICE to human inspection in order to determine whether it is evidence described
by the warrant.

37. Manner of execution. Because this warrant seeks only permission to examine SUBJECT
DEVICE already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the
Court to authorize execution of the warrant at any time in the day or night.

38. Moreover, the Government will file a written pleading in this case within one hundred
twenty (120) days after the execution of the search warrant notifying the court that the imaging
process of digital evidence seized from the target location is complete, and the forensic analysis of
computers and media has begun. Such notice will include confirmation that written notice has
been provided to the defendant or his counsel informing the defendant that the forensic

examination of evidence seized from him has actually begun. Such notice to the defendant and

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the Court is not intended to mean, and should not be construed to mean, that the forensic analysis
is complete, or that a written report detailing the results of the examination to date will be filed
with the Court or provided to the defendant or his counsel. This notice does not create, and is not
meant to create, additional discovery rights for the defendant. Rather, the sole purpose of this
notice is to notify the defendant that, beyond the simple seizure of his property, a forensic search
of that property has actually begun.
| CONCLUSION

39. I submit that this affidavit supports probable cause for a search warrant authorizing the
examination of the SUBJECT DEVICE described in Attachment A to seek the items described in
Attachment B.

Respectfully submitted,

eZ

Thonfas W. Byrd :
Special Agent
ATF

Subscribed and sworn to before me on/February ] 3 2019

on
OD

IPS e

 

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ATTACHMENT A
The property to be searched is SUBJECT DEVICE (1) iPhone cellular phone IMEI
#352982098938890 containing Sprint SIM card #8901 1202000210974124. Currently located at
the ATF Richmond III Field Office, 600 E. Main Street suite 1401, Richmond, Virginia.
This warrant authorizes the forensic examination of the SUBJECT DEVICE for the

purpose of identifying the electronically stored information described in Attachment B.
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1.

ATTACHMENT B

All records on the SUBJECT DEVICE described in Attachment A that relate to

violation of 18 U.S.C. § 922(a)(1)(a) and 18 U.S.C. § 922(a)(5), including but not limited to:

a.

b.

2.

SUBJECT DEVICE user accounts/basic demographic information;

contact lists;

call records;

call history;

any information related to the purchase, possession or trafficking of firearms
and/or ammunition;

any information related to drug transactions, possession and drug trafficking:
photographs/videos/documentation;

text messages, emails, multimedia messages:

web browser history;

Balance sheets;

Tower data;

All data and contents of the SUBJECT DEVICE.

Evidence of user attribution showing who used or owned the SUBJECT DEVICE

at the time the things described in this warrant occurred, such as logs, phonebooks, saved

usernames and passwords, documents, and browsing history.
